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Fill in this information to identify the case:

United States Bankruptcy Court for the:

Southern District of Texas
(State)

Case number (if known): 19- Chapter _11 OD Check if this is an
amended filing

 

 

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy 046

 

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.

1. Debtor's name Weatherford International, LLC

2. All other names debtor used Weatherford International, Inc.
in the tast 8 years

 

 

Include any assumed names,

 

trade names, and doing

 

business as names

3. Debtor's federal Employer

 

 

 

 

 

 

 

Identification Number (EIN) 0 4-2 5 1 5 0 1 9
4, Debtor’s address Principal place of business Mailing address, if different from principal
place of business
2000 St. James Place
Number Street Number Street
Houston TX 77056
City State ZIP Code City State ZIP Code
Location of principal assets, if different from
principal place of business
Harris
County Number Street
City State ZIP Code
5. Debtor's website (URL) www.Weatherford.com
6. Type of debtor &) Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

OO sPartnership (excluding LLP)
DD _sOther. Specify:

 

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 1
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Debtor | Weatherford International, LLC Case number (if known)

Name

7. Describe debtor's business A. Check one:

(]_ ‘Health Care Business (as defined in 11 U.S.C. § 101(27A))
O_ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
(1 Railroad (as defined in 11 U.S.C. § 101(44))

O_ Stockbroker (as defined in 11 U.S.C. § 101(53A))

(1 Commodity Broker (as defined in 11 U.S.C. § 101(6))
‘Clearing Bank (as defined in 11 U.S.C. § 781(3))

&

None of the above

B. Check ail that apply:
0 ‘Tax-exempt entity (as described in 26 U.S.C. § 501)

1 Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ 80a-3)
(2 __sInvestment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
http:/www.uscourts.gov/four-digit-national-association-naics-codes.

 

29 4 3 5 an
8. Under which chapter of the Check one:
Bankruptcy Code is the debtor
filing? oO Chapter 7
1 Chapter 9
& Chapter 11. Check alf that apply:

1 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or
affiliates) are less than $2,566,050 on a consolidated basis (amount subject to adjustment
on 4/01/19 and every 3 years after that).

(1) The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a
small business debtor, attach the most recent balance sheet, statement of operations, cash-
flow statement, and federal income tax return or if all of these documents do not exist, follow
the procedure in 11 U.S.C. § 1116(1)(B).

Ki Aplan is being filed with this petition.

&] Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
accordance with 11 U.S.C. § 1126(b).

(1 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities
and Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of
1934. File the Attachment to Voluntary Petition for Non-individuals Filing for Bankruptcy
under Chapter 11 (Official Form 201A) with this form.

1 The debtor is a shell company as defined in the Securities Exchange Act of 1934
Rule 12b-2.

O Chapter 12
9. Were prior bankruptcy &K No
cases filed by or against the oO i
debtor within the last 8 Yes. District When Case number
years? MM /DD/YYY
If more than 2 cases, attach a District When Case number
separate list. 7 MM/DD/ YYY_

10. Are any bankruptcy cases O no

 

 

pending or being filed by a & vy ae ;

business partner or an es. Debtor See Attached Schedule 1. Relationship Affiliates

affiliate of the debtor?

List all cases. If more than 1, District Southern District of Texas When 07/01/19
MM/DD/YYY

attach a separate list.
Case number, if known

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 2
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Debtor _ Weatherford International, LLC Case number (if known)

Name

11. | Why is the case filed in this
district?

12. Does the debtor own or have
possession of any real
property or personal
property that needs
immediate attention?

|| Statistical and administrative information

13. Debtor's estimation of
available funds

14. Estimated number of
creditors

*Consolidated for all Debtors

15. Estimated assets

*Consolidated for all Debtors

Official Form 201

Check aif that apply:

&) Debtor has had its domicile, principal place of business, or principal assets in this district for 180
days immediately preceding the date of this petition or for a longer part of such 180 days than in
any other district.

A bankruptcy case conceming debtor's affiliate, general partner, or partnership is pending in this

district.

KI No

Yes. Answer below for each property that needs immediate attention. Attach additional sheets if
needed.

Why does the property need immediate attention? (Check ail that apply.)

0 sit poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
safety.
What is the hazard?
It needs to be physically secured or protected from the weather.

QO

{] _ Itincludes perishable goods or assets that could quickly deteriorate or lose value without
attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
assets or other options).

0 Other

 

 

Where is the property?

 

Number Street

 

 

City State ZIP Code

Is the property insured?
Ol No.

OO Yes. Insurance agency

 

Contact name

 

Phone

 

Check one:
J Funds will be available for distribution to unsecured creditors.
1 After any administrative expenses are paid, no funds will be available for distribution to unsecured

creditors.
OL 1-49 D+ 1,000-5,000 0 25,001-50,000
(] 50-99 [1 5,001-10,000 1 50,001-100,000
OO 100-199 [= 10,001-25,000 OD More than 100,000
200-999
[J $0-$50,000 [J = $1,000,001-$10 million [LJ $500,000,001-$1 billion
(J =$50,001-$100,000 [J = $10,000,001-$50 million EJ $1,000,000,001-$10 billion
[1 = $100,001-$500,000 (0 = $50,000,001-$100 million 1 $10,000,000,001-$50 billion

1 = $500,001-$1 million (1 $100,000,001-$500 million (1 More than $50 billion

Voluntary Petition for Non-Individuals Filing for Bankruptcy page 3
Case 19-33676 Document1 Filed in TXSB on 07/01/19 Page 4 of 18

 

Debtor Weatherford International, LLC Case number (if known)
Name
16. Estimated liabilities 0 $0-$50,000 OO = $1,000,001-$10 million D0 $500,000,001-$1 billion
OO = -$50,001-$100,000 00 — $10,000,001-$50 million &} $1,000,000,001-$10 billion
0 = $100,001-$500,000 [LJ — $50,000,001-$100 million 1 $10,000,000,001-$50 billion
(= $500,001-$1 million [1 = $100,000,001-$500 million 0 More than $50 billion

*Consolidated for all Debtors

| Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000
or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
authorized representative of this petition.
debtor

| have been authorized to file this petition on behalf of the debtor.

| have examined the information in this petition and have a reasonable belief that the information is true
and correct.

| declare under penalty of perjury that the foregoing is true and correct.

Executed on 07/01/2019
MM/DD/YYYY

x Eek Christoph Bausch
ai authorized representative of debtor Printed name
itte Authorized Signatory

i f
18. Signature of attorney x ) J A; c=
Date 07/01/2019

Signature of attorney for debtor MM /DD/YYYY

 

 

Timothy A. (“Tad”) Davidson II
Printed Name

 

Hunton Andrews Kurth LLP

 

 

 

 

 

 

 

Firm name

600 Travis Street, Suite 4200

Number Street

Houston ™ 77002
City State Zip Code
713-220-4200 TadDavidson@HuntonAK.com
Contact phone Email address

24012503 Texas

Bar number State

 

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 4
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SCHEDULE 1

On the date hereof, each of the affiliated entities listed below, including the debtor in this
chapter 11 case (collectively, the “Debtors’), filed a petition with this Court for relief under
chapter 11 of the Bankruptcy Code. Contemporaneously with the filing of their petitions, the
Debtors filed a motion requesting that the chapter 11 cases of the entities listed below be
consolidated for procedural purposes only and jointly administered pursuant to Rule 1015(b) of
the Federal Rules of Bankruptcy Procedure.

 

 

Debtor Name
Weatherford International Ltd.
Weatherford International plc

Weatherford International, LLC

 

 

 

 

 

 

Schedule 1 to Voluntary Petition for Non-Individuals Filing for Bankruptcy
Case 19-33676 Document1 Filed in TXSB on 07/01/19 Page 6 of 18

WEATHERFORD INTERNATIONAL, LLC

RESOLUTIONS ADOPTED BY
SOLE MEMBER

July 1, 2019

On this 1* day of July, 2019, the undersigned, being the sole member (the “Sole Member”)
of Weatherford International, LLC, a Delaware Limited Liability Company (the “Company,” and,
together with Weatherford International plc and Weatherford International Ltd., the
“Companies”), hereby consents in writing, pursuant to the provisions of applicable law, based on
the advice of the Company’s professionals and advisors, and after thorough discussions, to taking
the following actions and adopting the following resolutions:

NOW, THEREFORE, BE IT RESOLVED, that in the judgment of the Sole Member it
is desirable and in the best interests of the Company, its creditors and the Sole Member that the
Company seek relief under the provisions of Chapter 11, Title 11 of the United States Code (the

“Bankruptcy Code”); and it is further

RESOLVED, that the Company is hereby authorized, and each “Authorized Governing
Person” (as defined below) shall be, and hereby is, authorized and directed on behalf of the
Company, to commence a case under Chapter 11 of the Bankruptcy Code (the “Chapter 11 Case”)
by executing, verifying and delivering a voluntary petition in the name of the Company under
Chapter 11 of the Bankruptcy Code and causing the same to be filed with the United States
Bankruptcy Court for the Southern District of Texas (the “Bankruptcy Court”) in such form and
at such time as the Authorized Governing Person executing said petition shall determine; and it is
further

RESOLVED, that the Company is authorized, and each Authorized Governing Person
shall be, and hereby is, authorized and directed on behalf of the Company, to seek to have its
Chapter 11 Case jointly administered by the Bankruptcy Court with the separate cases commenced
by the other Companies under Chapter 11 of the Bankruptcy Code (the respective Chapter 11 Case
together with such other separate cases, the “Chapter 11 Cases”); and it is further

RESOLVED, that the Company is hereby authorized, and each Authorized Governing
Person shall be, and hereby is, authorized, on behalf of and in the name of the Company, to the
extent applicable, to obtain the use of cash collateral, in such amounts and on such terms as may
be agreed by any Authorized Governing Person, including the grant of replacement liens or other
adequate protection, as is reasonably necessary for the continuing conduct of the affairs of the
Company; and it is further

RESOLVED, that the Company is hereby authorized, and each Authorized Governing
Person shall be, and hereby is, authorized, on behalf of and in the name of the Company, to enter
into such forbearance agreements, waivers, amendments or modifications, or other supplements
relating to the Company’s existing indebtedness as may be deemed necessary or appropriate by
such Authorized Governing Person;
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RESOLVED, that the Company is authorized, and each Authorized Governing Person
shall be, and hereby is, authorized, on behalf of and in the name of the Company, to the extent
applicable, to enter into and seek authority from the Bankruptcy Court to enter into and/or assume
any restructuring support or similar agreements in connection with the Chapter 11 Cases and to
enter into, and/or seek approval of, any agreements, documents or instruments related thereto; and
it is further

RESOLVED, that the Company is hereby authorized, and each Authorized Governing
Person shall be, and hereby is, authorized and empowered, with full power of delegation, on behalf
of and in the name of the Company, to execute, verify and/or file, or cause to be filed and/or
executed or verified (or direct others to do so on their behalf as provided herein), and to amend,
supplement or otherwise modify from time to time, all necessary or appropriate documents,
including, without limitation, petitions, affidavits, schedules, motions, lists, applications,
pleadings and other documents, agreements and papers, including all loan agreements, notes,
guaranties, security agreements, pledge agreements and all other documents, agreements or
instruments (collectively, the “Credit Documents”), and to take any and all actions that the
Authorized Governing Person deems necessary or appropriate, each in connection with the Chapter
11 Cases, any post-petition financing or any cash collateral usage contemplated hereby or thereby;
and it is further

RESOLVED, that the Company is hereby authorized, and each Authorized Governing
Person shall be, and hereby is, authorized and empowered, on behalf of and in the name of the
Company, to employ and retain the law firms of Latham & Watkins LLP and Hunton Andrews
Kurth LLP to act as attorneys, Alvarez & Marsal North America LLC to act as financial advisors,
and Lazard Fréres & Co. LLC to act as investment banker for the Company in connection with the
Chapter 11 Cases; and it is further

RESOLVED, that the Company is hereby authorized, and each Authorized Governing
Person shall be, and hereby is, authorized and empowered, on behalf of and in the name of the
Company, to employ and retain such further legal, restructuring, financial, accounting and
bankruptcy services firms (together with the foregoing identified firms, the “Professionals”) as
may be deemed necessary or appropriate by the Authorized Governing Person to assist the
Company in carrying out its responsibilities in the Chapter 11 Cases and achieving a successful
reorganization; and it is further

RESOLVED, that each Authorized Governing Person be, and hereby is, authorized, with
full power of delegation, in the name and on behalf of the Company, to take or cause to be taken
any and all such further action and to execute and deliver or cause to be executed or delivered, and
to amend, supplement or otherwise modify from time to time, all such further agreements,
documents, certificates, statements, notices, undertakings and other writings, and to incur and to
pay or direct payment of all such fees and expenses, as in the judgment of the Authorized
Governing Person shall be necessary, appropriate or advisable to effectuate the purpose and intent
of any and all of the foregoing resolutions; and it is further

RESOLVED, that all acts lawfully done or actions lawfully taken by any officer of the
Company or any of the Professionals in connection with the Chapter 11 Case or any proceedings
Case 19-33676 Document1 Filed in TXSB on 07/01/19 Page 8 of 18

related thereto, or any matter related thereto, be, and hereby are, adopted, ratified, confirmed and
approved in all respects as the acts and deeds of the Company; and it is further

RESOLVED, that any and all actions, whether previously or subsequently taken by any
Authorized Governing Person or any other person authorized to act by an Authorized Person, that
are consistent with the intent and purpose of the foregoing resolutions or in connection with any
matters referred to herein, shall be, and the same hereby are, in all respects, ratified, approved and
confirmed; and it is further

RESOLVED, that for the purposes of these resolutions, the term “Authorized Governing
Person” shall mean and include Christine M. Morrison and Christoph Bausch; and it is further

RESOLVED, that to the extent of any inconsistency between the terms of these
Resolutions Adopted by Unanimous Written Consent and the limited liability company agreement
of the Company (the “LLC Agreement”), the terms of these Resolutions Adopted by Unanimous
Written Consent shall control and the LLC Agreement shall be amended hereby; and it is further

RESOLVED, that these Resolutions Adopted by Unanimous Written Consent shall be
governed by the laws of the State of Delaware (without regard to conflict of laws principles).
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IN WITNESS WHEREOF, the undersigned has executed this consent effective as of the
date first set forth above.

SOLE MEMBER:

WEATHERFORD U.S. HOLDINGS, L.L.C.

By: Chnce MK i

Name: Christine M. Morrison
Title: Vice President
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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

 

HOUSTON DIVISION

§

In re: § Case No. 19-
§

WEATHERFORD INTERNATIONAL § Chapter 11

PLC, et al., §
§

Debtors. ! § Joint Administration Pending

§

 

CONSOLIDATED LIST OF CREDITORS WHO HAVE THE 30 LARGEST
UNSECURED CLAIMS AND ARE NOT INSIDERS

The above-captioned debtors and debtors in possession (collectively, the
“Debtors”) hereby certify that the Consolidated List of Creditors Who Have the 30 Largest
Unsecured Claims and Are Not Insiders submitted herewith contains the names and
addresses of the Debtors’ top 30 unsecured creditors. The list has been prepared from the
unaudited books and records of the Debtors. The list is prepared in accordance with Fed.
R. Bankr. P. 1007(d) for filing in the Debtors' chapter 11 cases. The list does not include
(i) persons that come within the definition of "insider" set forth in 11 U.S.C. § 101(31) or
(ii) secured creditors unless the value of the collateral is such that the unsecured deficiency
places the creditor among the holders of the 30 largest unsecured claims. The information
contained herein shall not constitute an admission of liability by, nor is it binding on, the
Debtors. Moreover, nothing herein shall affect the Debtors' rights to challenge the amount
or characterization of any claim at a later date. The failure to list a claim as contingent,
unliquidated or disputed does not constitute a waiver of the Debtors' rights to contest the
validity, priority and/or amount of any such claim.

 

' The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
Weatherford International ple (6750); Weatherford International Ltd. (1344); and Weatherford International, LLC
(5019). The location of the Debtors’ main corporate headquarters and the Debtors’ service address is: 2000 St. James
Place, Houston, TX 77056.
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Fill in this information to identify the case and this filing:

Debtor Name Weatherford International, LLC

United States Bankruptcy Court for the Southern District of Texas

Case number (if known):

 

 

Official Form 202

Declaration Under Penalty of Perjury for Non-Individual Debtors 12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or
partnership, must sign and submit this form for the schedules of assets and liabilities, any other document
that requires a declaration that is not included in the document, and any amendments of those documents.
This form must state the individual's position or relationship to the debtor, the identity of the document, and
the date. Bankruptcy Rules 1008 and 9011.

 

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining
money or property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or
imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

| Declaration and signature

| am the president, another officer, or an authorized agent of the corporation; a member or an authorized
agent of the partnership, or another individual serving as a representative of the debtor in this case.

 

| have examined the information in the documents checked below and | have a reasonable belief that the
information is true and correct:

Oo Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
Schedule H: Codebtors (Official Form 206H)

Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

Amended Schedule ___

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Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and
Are Not Insiders (Official Form 204)

| Other document that requires a declaration

| declare under penalty of perjury that the foregoing is true and correct.
Executedon 07/01/2019 X YA

MM/DD/YYYY Pa. of individual on behalf of debtor
Christoph Bausch

Printed name

 

Authorized Signatory
Position or relationship to debtor

Official Form 202 Declaration Under Penalty of Perjury for Non-Individual Debtors Page 1
Case 19-33676 Document1 Filed in TXSB on 07/01/19 Page 17 of 18

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

 

HOUSTON DIVISION
§
In re: § Case No. 19-
§
WEATHERFORD INTERNATIONAL, § Chapter 11
LLC §
§
Debtor. §
§

 

STATEMENT OF CORPORATE OWNERSHIP

The following is the list of entities that directly or indirectly own 10% or more of any
class of Weatherford International LLC’s equity interest. This list is prepared in accordance with
Fed. R. Bankr. P. 1007(a)(1) and Fed. R. Bankr. P. 7007.1 in this chapter 11 case.

 

Shareholder

 

ClearBridge Investments, LLC

 

Weatherford International plc

 

Weatherford Worldwide Holdings GmbH

 

Weatherford Investment Holding LLC

 

Weatherford Holdings U.S. LLC

 

Weatherford/Lamb, Inc.

 

Weatherford U.S. Holdings, L.L.C.

 

 

 

LIST OF EQUITY SECURITY HOLDERS

The following is a list of debtor Weatherford International LLC’s equity security holders.
This list has been prepared in accordance with Fed. R. Bankr. P. 1007(a)(3) for filing in this chapter
11 case.

 

Shareholder

 

Weatherford U.S. Holdings, L.L.C.

 

 

 
Case 19-33676 Document1 Filed in TXSB on 07/01/19 Page 18 of 18

Fill in this information to identify the case and this filing:

Debtor Name Weatherford International, LLC

United States Bankruptcy Court for the Southern District of Texas

Case number (if known):

 

 

Official Form 202

Declaration Under Penalty of Perjury for Non-Individual Debtors 12/15
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This form must state the individual’s position or relationship to the debtor, the identity of the document, and
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imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

| Declaration and signature

! am the president, another officer, or an authorized agent of the corporation; a member or an authorized
agent of the partnership, or another individual serving as a representative of the debtor in this case.

| have examined the information in the documents checked below and | have a reasonable belief that the
information is true and correct:

Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
Schedule H: Codebtors (Official Form 206H)

Summary of Assets and Liabilities for Non-individuals (Official Form 206Sum)

Amended Schedule ___

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Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and
Are Not Insiders (Official Form 204)

x Other document that requires a declaration _ Corporate Ownership Statement: List of Equity
Security Holders

| declare under penalty of perjury that the foregoing is true and correct.

Executedon 07/01/2019 xX EG

MM/DDIYYYY 7 Signatur of individual on behalf of debtor

Christoph Bausch
Printed name

Authorized Signatory
Position or relationship to debtor

Official Form 202 Declaration Under Penalty of Perjury for Non-Individual Debtors Page 1
